Form ODSC7fi

                                            UNITED STATES BANKRUPTCY COURT
                                             Northern District of California (San Jose)


 In re:                                                          Case Number: 09−53442 RLE 7
          George Earl Weisel                                     Chapter: 7
          dba One Call Property Service
          540 MacArthur Avenue
          San Jose, CA 95128
          Angelina Cecilia Weisel
          540 MacArthur Avenue
          San Jose, CA 95128
                              Debtor(s)
          Debtor/Joint Debtor Social Security Number(s):
           xxx−xx−6791
           xxx−xx−3365




                                          DISCHARGE OF DEBTOR AND FINAL DECREE



     It appearing that the debtor(s) is/are entitled to a discharge, IT IS ORDERED:
The debtor(s) is/are granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy
Code).

       It further appears that the trustee, Carol Wu in the above−entitled case has filed a report of no
distribution and said Trustee has performed all other and further duties required in the administration of
said estate; accordingly, it is hereby

      ORDERED that the chapter 7 case of the above−named debtor is closed; that the Trustee is
discharged and relieved of said trust.




Dated: 8/11/09                                           By the Court:


                                                         Roger L. Efremsky
                                                         United States Bankruptcy Judge




                         SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.

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                                 EXPLANATION OF BANKRUPTCY DISCHARGE
                                          IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

       The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a discharged debtor by mail, phone, or otherwise, to file or continue a lawsuit, to
attach wages or other property, or to take any other action to collect a discharged debt from the debtor. [In a case
involving community property:] A creditor who violates this order can be required to pay damages and attorney's fees
to the debtor. [There are also special rules that protect certain community property owned by the debtor's spouse,
even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay damages
and attorney's fees to the debtor.

       However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the discharged the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy
case. Also, a debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes (applies to cases filed on or after 10/17/2005);

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;
      g. Some debts which were not properly listed by the debtor;
      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;
      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts.

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans (applies to cases filed on or after
      10/17/2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.



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                                CERTIFICATE OF NOTICE
 District/off: 0971-5                  User: admin                        Page 1 of 1                          Date Rcvd: Aug 12, 2009
 Case: 09-53442                        Form ID: ODSC7fi                   Total Noticed: 19

 The following entities were noticed by first class mail on Aug 14, 2009.
 db/jdb       +George Earl Weisel,    Angelina Cecilia Weisel,    540 MacArthur Avenue,    San Jose, CA 95128-2132
 smg           CA Employment Development Dept.,     Bankruptcy Group MIC 92E,    P.O. Box 826880,
                Sacramento, CA 94280-0001
 smg           Secretary of The Treasury,    15th and Pennsylvania Ave. NW,     Washington, DC 20220-0001
 smg          +State Board of Equalization,    Attn: Special Procedures Section, MIC:55,     P.O. Box 942879,
                Sacramento, CA 94279-0001
 9951952      +Allyn Kasperbauer,    235 Coy Drive,    San Jose, CA 95123-1714
 9951955       Citi Cards,    P.O. Box 6000,   The Lakes, NV 89163-6000
 9951956       CitiMortgage, Inc.,    P.O. Box 6006,    The Lakes, NV 88901-6006
 9951957      +Contractors State License Board,     PO Box 26000,   Sacramento, CA 95826-0026
 9951960      +James Parivash,    c/o Craig Moody,    57 Post Street, Suite 502,    San Francisco, CA 94104-5020
 9951962       Sears,   P.O. Box 6922,    The Lakes, NV 88901-6922
 9951963      +State of California, Labor Commissioner,     Department of Industrial Relations,
                Division of Labor Standards Enforcement,     2031 Howe Avenue, Suite 100,
                Sacramento, CA 95825-0196
 9951964      +Viracon,    c/o Michael A. Mooney,    520 El Camino Real #3618,    San Mateo, CA 94402-1726
 9951965      +West Coast Remedy, dba New England Glass,     667 Walnut Street,    San Jose, CA 95110-2044
 The following entities were noticed by electronic transmission on Aug 13, 2009.
 smg           EDI: CALTAX.COM Aug 12 2009 23:39:00      CA Franchise Tax Board,    Attn: Special Procedures,
                P.O. Box 2952,   Sacramento, CA 95812-2952
 9951953      +EDI: AMEREXPR.COM Aug 12 2009 23:38:00      American Express,    PO Box 0001,
                Los Angeles, CA 90096-8000
 9951954      +EDI: BANKAMER.COM Aug 12 2009 23:33:00      Bank of America,   P.O. Box 15019,
                Wilmington, DE 19850-5019
 9951958      +E-mail/Text: joeydeleon@downeysavings.com                            Downey Savings,
                3501 Jamboree Rd.,   Newport Beach, CA 92660-2980
 9951959       EDI: IRS.COM Aug 12 2009 23:38:00      Internal Revenue Service,    P. O. Box 21126,
                Philadelphia, PA 19114-0326
 9951961       EDI: RMSC.COM Aug 12 2009 23:33:00      Mervyn’s,   PO Box 960013,    Orlando, FL 32896-0013
 9951962       EDI: SEARS.COM Aug 12 2009 23:33:00      Sears,   P.O. Box 6922,    The Lakes, NV 88901-6922
                                                                                               TOTAL: 7
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Aug 14, 2009                                       Signature:



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